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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION



Bartlit Beck LLP,

                    Petitioner,                  Case No. 19-cv-8508
             v.
                                                 Hon. John F. Kness
Kazuo Okada,

                    Respondent.



         BARTLIT BECK’S SUPPLEMENTAL REPORT REGARDING
            DENTONS’ MOTION TO WITHDRAW AS COUNSEL

      Bartlit Beck objects to Dentons’ motion to withdraw as Mr. Okada’s counsel

because Dentons’ withdrawal would prejudice Bartlit Beck by severely hampering

the discovery process and the final resolution of this matter. Such prejudice is a

valid reason for the Court to deny Dentons’ motion.

      Courts recognize that prejudice to third parties, including adverse litigants,

is a valid basis for denying a motion to withdraw as counsel. See, e.g., Fidelity Nat’l

Title Ins. Co. of N.Y. v. Intercounty Nat’l Title Ins. Co., 310 F.3d 537, 541 (7th Cir.

2002) (“Severe prejudice to third parties—who might have more to lose than the

unpaid lawyer—is another potential ground for denying a motion to withdraw.”);

Sanford v. Maid-Rite Corp., 816 F.3d 546, 550 (8th Cir. 2016) (“The presumption

favoring withdrawal in similar circumstances should be disregarded, however, if it

would severely prejudice the client or third parties.”); Brandon v. Blech, 560 F.3d

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536, 538 (6th Cir. 2009) (“[A] district court may forbid withdrawal if it would work

severe prejudice on the client or third parties.”). Relatedly, “[i]n addressing motions

to withdraw as counsel, district courts have typically considered whether the

prosecution of the suit is likely to be disrupted by the withdrawal of counsel.”

Whiting v. Lacara, 187 F.3d 317, 320 (2d Cir. 1999) (per curiam) (cleaned up); see

also, e.g., Lego A/S v. Best-Lock Constr. Toys, Inc., No. 3:11-CV-01586 (CSH), 2019

WL 6770096, at *2 (D. Conn. Dec. 12, 2019) (“Even if counsel asserts that good

cause exists, district courts may also consider whether granting withdrawal would

disrupt the prosecution of the suit and delay the proceedings.” (cleaned up)).

      Courts have denied motions to withdraw when they would cause the very

type of prejudice that Bartlit Beck would suffer here—disruption of its ability to

conduct discovery. For example, in Ohntrup v. Firearms Ctr., Inc., the court

affirmed the district court’s denial of defendant’s counsel’s motion to withdraw

because withdrawal would interfere with plaintiff’s efforts to conduct postjudgment

discovery. 802 F.2d 676, 679 (3d Cir. 1986) (per curiam). Like Bartlit Beck here, the

plaintiff in Ohntrup was engaged in discovery in aid of execution. See id. at 677–78.

Also like here, the defendant was located overseas, which would have made it

difficult to communicate with the defendant in the event counsel were allowed to

withdraw. See id. at 679. And like Mr. Okada, the defendant had “been an

intractable litigant.” Id. Given those circumstances, the district court denied the

motion to withdraw, fearing that allowing withdrawal would “leave the court

without the possibility of effective communication with [defendant], as well as



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without a reliable mechanism for responsible supervision of the post-judgment

aspects of this litigation.” Id.

       Ohntrup is not alone. Other courts have similarly found that prejudice to a

third party is sufficient to prevent counsel from withdrawing. Courts have denied

motions to withdraw, often based on a third party’s opposition to the motion, when

withdrawal would derail discovery, cause difficulties communicating with a litigant,

or result in unreasonable delay. See, e.g., State Farm Mut. Auto. Ins. Co. v. Max

Rehab Physical Therapy, LLC, No. 18-13257, 2021 WL 5864001, at *2 (E.D. Mich.

Jan. 21, 2021) (denying defendant’s counsel’s motion to withdraw, as urged by

plaintiff, because “if Benson withdrew without new counsel in place for defendants,

this litigation would come to a halt and the Court would have no effective ability to

communicate with Max Rehab”); Meznarich v. Morgan Waldron Ins. Mgmt. LLC,

No. 1:10CV2532, 2012 WL 487963, at *4 (N.D. Ohio Feb. 14, 2012) (“Withdrawal by

Counsel at this crucial stage would, minimally, severely hamper the ability of the

Morgan Waldron Defendants to participate in the discovery process and, at worst,

completely halt the ongoing litigation and leaving the Court without the ability to

effectively communicate with Morgan Waldron LLC-a central player in this

dispute.”); Worldspan, L.P. v. The Ultimate Living Group, LLC, No. Civ.A. 03-1081-

JJF, 2006 WL 1046942, at *1 (D. Del. Apr. 20, 2006) (denying motion to withdraw

where client located overseas, had been an “intractable litigant,” and

communication difficulties would result); Rophaiel v. Alken Murray Corp., No. 94

CIV. 9064 (CSH), 1996 WL 306457, at *2 (S.D.N.Y. June 7, 1996) (“I am further



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influenced by the litigation delay that would occur if the firm were permitted to

withdraw. It would be too easy for a defendant to stall proceedings by inducing the

withdrawal of its attorney by non-payment of fees.”); see also Lego A/S, 2019 WL

6770096, at *2 (deferring ruling on motion to withdraw pending statement from

client, because “Best-Lock’s quest for a successor counsel, necessitated by Murtha

Cullina’s withdrawal, would further delay this 8-year litigation and prejudice Best-

Lock and Plaintiffs alike, particularly in light of the impeding pre-trial deadlines.”).

      The factors that animated the courts’ decisions in the cases cited above are

all present here. Were the Court to allow Dentons to withdraw, neither the Court

nor Bartlit Beck would have any reliable means of communicating with Mr. Okada,

particularly given that Mr. Okada has not hired replacement counsel. As a result,

discovery proceedings would be stalled, and Bartlit Beck would be left with yet more

delay in its years-long effort to collect from Mr. Okada. Accordingly, the Court

should deny Denton’s motion.




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January 18, 2022                     Respectfully submitted,


                                     /s/ Joshua P. Ackerman
                                     One of the Attorneys for Bartlit Beck LLP

                                     Sean M. Berkowitz (IL Bar No. 6209701)
                                     Latham & Watkins LLP
                                     330 North Wabash Avenue, Suite 2800
                                     Chicago, IL 60611
                                     (312) 876-7700
                                     Sean.Berkowitz@lw.com

                                     Adam L. Hoeflich (IL Bar No. 6209163)
                                     Joshua P. Ackerman (IL Bar No. 6317777)
                                     Bartlit Beck LLP
                                     54 W. Hubbard Street Chicago, IL 60654
                                     (312) 494-4400
                                     adam.hoeflich@bartlitbeck.com
                                     joshua.ackerman@bartlitbeck.com


                                     Attorneys for Petitioner Bartlit Beck LLP




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